                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION


FORCHT BANK, N.A. KENTUCKY
BANKERS ASSOCIATION, and BANK
POLICY INSTITUTE,
                                                      Case No. 5:24-cv-00304-DCR
                            Plaintiffs,
               v.

CONSUMER FINANCIAL PROTECTION
BUREAU and RUSSELL VOUGHT, in his
official capacity

                            Defendants.


                              DEFENDANTS’ STATUS REPORT

       Defendants Consumer Financial Protection Bureau and Russell Vought file this Status

Report to update the Court on Defendants’ position on the 1033 Rule at issue in this case. See 89

Fed. Reg. 90,838 (Nov. 18, 2024) (the “Rule”).

       On March 25, 2025, the parties filed a joint motion to stay proceedings to allow the

Bureau’s new leadership time to review the Rule and to consider the Bureau’s position. ECF

No. 40. On March 27, 2025, this Court issued an order granting the parties’ requested 60-day

extension and modifying the briefing schedule. ECF No. 45. On May 14, after holding a hearing,

this Court issued an order granting the Financial Technology Association’s (“FTA”) motion to

intervene and stating that “the parties should expect to adhere to the briefing schedule outlined in

the Court’s Order of March 27, 2025.” ECF No. 56.

       After reviewing the Rule and considering the issues that this case presents, Bureau

leadership has determined that the Rule is unlawful and should be set aside. To that end,

Defendants intend to file a motion for summary judgment by May 30, 2025, the date that this
Court had set for plaintiffs in its March 27 Order. This approach will allow the parties to adhere

to the existing briefing schedule.


DATED: May 23, 2025                                  Respectfully Submitted,

                                                     MARK PAOLETTA
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                                                     DANIEL SHAPIRO
                                                     Deputy Chief Legal Officer

                                                     VICTORIA DORFMAN
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                                                     /s/ Lauren Gorodetsky
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2025, I electronically filed this Response with the clerk of

the court by using the CM/ECF system, which will send a notice of electronic filing to all counsel

of record.


                                                     /s/ Lauren Gorodetsky
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